                         UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

IN RE: Erin Lanigan                                   CASE NO. 18-12457


               Debtor(s)                              Chapter 7

                                                      JUDGE: Jessica Price Smith


                                       STATUS REPORT



               Debtor has filed an application with the court to pay her filing fee in installment.

The application provided that the first installment payment would be made with filing the

petition. Counsel attempted to make this first installment payment. This payment was docketed

by mistake to Melody Lewis 18-12134. Counsel is not entirely sure how this happened. Counsel

is taking steps to obtain a refund of this payment so that the funds can be directed properly.


                                              Respectfully submitted,

                                              /s/ William J. Balena
                                              ______________________________
                                              William J. Balena (0019641)
                                              Attorney for Debtors
                                              30400 Detroit Rd., #106
                                              Westlake, OH 44145
                                              (440) 365-2000
                                              (866) 936-6113 - Fax
                                              docket@ohbksource.com




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                                       CERTIFICATION

                The undersigned attorney for Debtor(s), hereby certifies that on May 4, 2018, the

Notice of Adjournment was served via e- mail and/or regular U.S. Mail upon the following

parties in interest:

Richard Baumgart, Chapter 7 Trustee at baumgart_trustee@dsb-law.com


By ordinary mail to;


Erin Lanigan
26908 Eastwood Lane
Olmsted Twp, Ohio 44138




                                             Respectfully submitted,

                                             /s/ William J. Balena
                                             ______________________________
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                                             Attorney for Debtors
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                                             Westlake, OH 44145
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